EXHIBIT B
                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

James A. Ciesniewski                         :      Case No: 1:16-CV-817-WTL-TAB
                                             :
                      Plaintiff,             :
                                             :
v.                                           :
                                             :
Aries Capital Partners, Inc.                 :
       (d/b/a Aries Data Collections),       :
Parker L. Moss,                              :
Parker L. Moss, P.C. ,                       :
John Doe Company                             :
                                             :
                      Defendants.            :

                                    Affidavit of James A. Ciesniewski

I, James A. Ciesniewski, suffered economic loss and Actual Damages due to the actions of defendants
Aries Capital Partners, Inc., Parker L. Moss, Parker L. Moss P.C., and Asta Funding, LLC.

In answering the proceedings supplemental filed by Attorney Parker Moss on April 22, 2015 on behalf
of Centurion Capital Corp., a dead company that I was given no reason to be alive, I sent a letter to
Attorney Parker Moss by certified mail which cost me, personally, $4.60.

In order to defend against the proceedings supplemental I was given no choice but to hire an attorney.
On or about June 2, 2015, I met with and signed an attorney-client agreement with Attorney Keith
Hagan. In order to have this meeting, I had no choice but to take an unpaid half-day off from my place
of work, O’Reilly Auto Parts located at 6530 East 82nd Street, Indianapolis, IN 46250 (hereinafter,
“work”). This half-day of missed work resulted in a net loss of income of on or about $43.80. To meet at
Attorney Keith Hagan’s office, I had to drive from work to his office located at 201 N. Illinois,
Indianapolis, IN 46204. The trip to and from his office from my work was on or about 25 minutes of
travel time and 16 miles, each way.

On September 1, 2015, at 9:00 AM, I had no other choice but to take a half-day off of work to attend the
first proceedings supplemental at the Marion County City-County Building. This half-day of missed
work resulted in a net loss of income of on or about $48.80. To attend the hearing, I had to drive from
my home located at 7612 Kilmer Lane, Indianapolis, IN 46256, to the City County Building, a total of
on or about 17.6 miles or 23 minutes. The trip from the City-County Building to work following the
hearing took on or about 19.1 miles or 25 minutes. It should be noted that Attorney Parker Moss who
filed for this proceedings supplemental was absent at this hearing, provided no explanation for his
absence, and the hearing was continued due to his absence until October 26, 2015.

On October 26, 2015, at 9:00 AM, I had no other choice but to take a half-day off of work to attend the
second proceedings supplemental at the Marion County City-County Building. This half-day of missed
work resulted in a net loss of income of on or about $48.80. To attend the hearing, I had to drive from
my home located at 7612 Kilmer Lane, Indianapolis, IN 46256 to the City County Building, a total of on
